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.. *·               Case 4:13-cr-00090-BSM Document 81 Filed 04/23/13 Page 1 of 1
                                IN THE UNITED STATES DISTRICT COURT
                                                                                                   FILED
                                                                                                 U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT ARKANS.•\S

                                   EASTERN DISTRICT OF ARKANSAS                                  APR 23 2013
        UNITED STATES OF AMERICA                       )                               JAMES
                                                       )        No. 4: 13CR00090 K8§--++-~-l---h.-~~c,.,...LE=R=K
        vs.                                            )
                                                       )
        TROY DION ALLEN, et al

                                              MOTION TO UNSEAL

                 Upon request ofthe United States, the indictment in this case was ordered sealed by the

        Honorable Beth Deere on April2, 2013, until the defendants were in custody or had been

        released pending trial. To date, all but one of the defendants have been arrested. The

        whereabouts of that remaining defendant are currently unknown. Therefore, the United States

        requests that the indictment be unsealed at his time.


                                                                                             EY




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                                                      ORDER

                 Pursuant to the above request, the indictment in this matter shall be unsealed by this

        order.


                                                                UNITED STATES MAGISTRATE JUDGE
